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16                               UNITED STATES DISTRICT COURT

17                                        DISTRICT OF NEVADA

18

19     TESLA, INC.,                                 Case No. 3:18-cv-00296-MMD-CLB
                             Plaintiff,
20
       v.                                          APPENDIX OF EXHIBITS IN SUPPORT
21                                                 OF DECLARATION OF JEANINE
       MARTIN TRIPP,                               ZALDUENDO IN SUPPORT OF
22                                                 TESLA’S EMERGENCY MOTION FOR
                             Defendant.            ORDER TO SHOW CAUSE AND
23                                                 HEARING

24

25

26

27     AND RELATED COUNTERCLAIMS.
28
     Case 3:18-cv-00296-MMD-CLB Document 222 Filed 10/08/20 Page 2 of 2



 1           Plaintiff and Counterclaim Defendant, Tesla, Inc., submits an Appendix of Exhibits in

 2    Support of Declaration in Support of its Tesla’s Emergency Motion For Order To Show Cause

 3    And Hearing.

 4                               Description                              Exhibit No.    Page No.

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 6     September 12, 2020 Email from Marty Tripp to Alex Spiro                 3            7-11
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 7     Zalduendo, Michael Lifrak, RKay and Aubrey Jones
 8     Tesla Fraud of Exposing Tesla and Elon Musk                             5           14-19
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 9     Zalduendo, Michael Lifrak, RKay and Aubrey Jones
       October 3, 2020 Email from Marty Tripp to Elon Musk and Alex            7           22-23
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11     September 26, 2020 Martin Tripp Tweet                                    8          24-29
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             Respectfully submitted this 8th day of October, 2020.
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